                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

TENNESSEE CONFERENCE of the                       )
NATIONAL ASSOCIATION for the                      )
ADVANCEMENT of COLORED                            )
PEOPLE, et al.,                                   )
                                                  )        NO. 3:20-cv-01039
     Plaintiffs,                                  )
                                                  )        JUDGE CAMPBELL
v.                                                )        MAGISTRATE JUDGE FRENSLEY
                                                  )
WILLIAM LEE, et al.,                              )
                                                  )
     Defendants.                                  )

                                              ORDER

         The Court is in receipt of Defendants’ class certification briefing (Doc. No. 294) filed

pursuant to this Court’s Order (Doc. No. 293) entered on September 12, 2024. In their brief,

Defendants contend, without citation to supporting legal authority, that the Amended Complaint

filed on October 22, 2022, is the operative complaint for purposes of determining Plaintiffs’

standing on class certification. (See Doc. No. 294 at PageID # 7889).

         “However, [courts] look[] to the plaintiff's original complaint when determining standing.”

Barber v. Charter Twp. of Springfield, Michigan, 31 F.4th 382, 392 n.7 (6th Cir. 2022) (citing

Lynch v. Leis, 382 F.3d 642, 647 (6th Cir. 2004) (holding that the operative complaint for purposes

of determining standing is that which adds the relevant plaintiff to the action)); see also Kentucky

v. Yellen, 54 F.4th 325, 336 (6th Cir. 2022) (“Whether a party has standing to redress an injury is

measured as of the time the injury is first asserted; here, in the original complaint.”); Price v.

Medicaid Dir., 838 F.3d 739, 746 (6th Cir. 2016) (“The plaintiffs have standing to assert only the

claims they had standing to assert when the claims themselves were first pled.”).

         As the Sixth Circuit explained more than 20 years ago:



Case 3:20-cv-01039          Document 295        Filed 09/20/24     Page 1 of 2 PageID #: 7902
                Standing “is to be determined as of the time the complaint is filed.”
                Cleveland Branch, NAACP, 263 F.3d at 524. The parties dispute
                whether the operative complaint is the first complaint, initiating the
                action, the Second Amended Complaint, adding Powers, or the
                Third Amended Complaint, the final complaint filed. This confusion
                seems to be generated by County of Riverside v. McLaughlin, 500
                U.S. 44, 51, 111 S.Ct. 1661, 114 L.Ed.2d 49 (1991), which in the
                course of conferring standing to seek injunctive relief on warrantless
                arrestees who at the time their complaint was filed were suffering
                constitutional injury, referred to the final complaint filed in the case,
                the second amended complaint, as “the operative pleading.” Id. at
                48, 111 S.Ct. 1661. A careful reading of County of Riverside
                demonstrates that the second amended complaint was important not
                because it was the operative pleading, but because it was that
                complaint which named “three additional plaintiffs” who were “still
                in custody” at the time the complaint was filed, and who were the
                plaintiffs found to have standing by the Court. Id. at 49, 51, 111
                S.Ct. 1661; see also Rosen v. Tenn. Comm'r of Fin. & Admin., 288
                F.3d 918, 929 (6th Cir. 2002) (describing focus of County of
                Riverside Court on “second amended complaint making the claim in
                question” (emphasis added)). Therefore, the operative complaint is
                the one adding Powers to the action, and the operative date is May
                25, 2000, rendering the capias entirely irrelevant to the question of
                standing.

Lynch v. Leis, 382 F.3d 642, 647 (6th Cir. 2004) (emphasis in original). And although class action

is permissible so long as at least one named plaintiff has standing, Horne v. Flores, 557 U.S. 433,

446 (2009), courts “determine standing for each plaintiff on a claim-by-claim basis” because

“standing is not dispensed in gross.” Price v. Medicaid Dir., 838 F.3d 739, 746 (6th Cir. 2016)

(citation omitted). Accordingly, on or before October 1, 2024, the parties shall file supplemental

briefs expressly stating their positions as to which complaint is the operative complaint for

purposes of determining standing for each of the named Plaintiffs on each claim that Plaintiffs

seek class certification.

        It is so ORDERED.
                                                     ___________________________________
                                                     WILLIAM L. CAMPBELL, JR.
                                                     CHIEF UNITED STATES DISTRICT JUDGE




Case 3:20-cv-01039          Document 295          Filed 09/20/24      Page 2 of 2 PageID #: 7903
